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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :              Case No.: 1:22-cr-00166-BAH
                                             :
JOHN GEORGE TODD III,                        :
                                             :
                      Defendant.             :


                     GOVERNMENT’S NOTICE OF WITHDRAWAL
       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court that Assistant United States Attorney Michael G.

James, as counsel for the United States, is terminating his appearance as counsel of record in this

matter. All other government counsel noted on the docket at the time of this filing will remain

counsel for the United States.

                                             Respectfully submitted,


                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052


                                             /s/ Michael G. James
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                                CERTIFICATE OF SERVICE

       On this 16th day of May 2023, a copy of the foregoing Notice of Withdrawal was served

upon all parties listed on the Electronic Case Filing (ECF) System.

                                             /s/ Michael G. James
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